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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


    DONALD AGEE, JR., an individual, et
    al.,
                                            Case No. 1:22-cv-00272
                 Plaintiffs,
                                            Three-Judge Panel Appointed
    v.                                      Pursuant to 28 U.S.C. § 2284(a)

    JOCELYN BENSON, in her official         ORAL ARGUMENT REQUESTED
    capacity as the Secretary of State of
    Michigan, et al.;

                 Defendants.


         PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION FOR
                           SUMMARY JUDGMENT
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   I.    INTRODUCTION

         The Commission Defendants used racial quotas (40% BVAP caps) to draw the

   Linden and Hickory maps, cracking Metro Detroit’s Black voters into baconmandered

   districts and diluting their ability to elect candidates of their choice due to a proven

   lack of white-crossover voting. Plaintiffs are entitled to summary judgment.

   II.   ARGUMENT

         A.     Summary judgment is appropriate.

         The Commission wrongly claims that Plaintiffs haven’t argued the summary-

   judgment standard. Comm’n.Resp.Br.1,3, PageID.1639,1641. Plaintiffs’ summary

   judgment papers all explain that Plaintiffs are entitled to a declaration that the

   Commission’s Hickory and Linden plans violate the VRA and the Equal Protection

   Clause as a matter of law because no genuine issue of material fact exists.

         The Commission also asserts that Plaintiffs fail to cite any case awarding

   summary judgment to a VRA-plaintiff on the Gingles preconditions, suggesting this

   would be the first. Comm’n.Resp.Br.3-4, PageID.1641-42. Not so. In Pope v. Cnty. of

   Albany, No. 1:11-CV-0736, 2014 WL 316703, at *13 (N.D.N.Y. Jan. 28, 2014) (Ex.A),

   the court granted partial summary judgment to plaintiffs on Gingles 1. Pls’.SJ.Br.13,

   18-20, PageID.594, 599-601. And there are several others. E.g., United States v.

   Charleston Cnty., 318 F. Supp. 2d 302, 313 (D.S.C. 2002), aff'd, 365 F.3d 341 (4th Cir.

   2004) (granting plaintiffs summary judgment on all three Gingles preconditions);

   Rose v. Raffensperger, 584 F. Supp. 3d 1278, 1292-95 (N.D. Ga. 2022) (same).

   Defendants’ assertion that summary judgment is rarely granted is irrelevant; it

   should be granted here.
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         B.     Summary judgment is proper as to Counts I and II because the
                baconmandered districts deny Plaintiffs their protected right
                under the VRA to elect their candidate of choice.

         The Commission says that Dr. Handley’s report established their good-faith

   belief “that all the Gingles preconditions are met.” Comm’n.Resp.Br.33, PageID1671

   (cleaned up). For this, they are correct.

                1.     Plaintiffs are entitled to summary judgment on the first
                       Gingles precondition.

         The Detroit area contains one of the largest, most compact, Black populations

   in America and for decades, its VRA-protected political boundaries included plentiful

   majority-minority districts. Pls’.SJ.Br.2-4, 32-35, PageID.583-85, 613-16. That’s why

   the Commission hired a VRA expert who opined that “districts that provide minority

   voters with an opportunity to elect their candidates of choice must be drawn” or

   “maintained.” 2021.Handley.Report.17, J.A.17. And it is why the Commission began

   drawing maps for the Detroit area with BVAPs around 50% until “the Commission’s

   counsel intervened” and forced the Commission to adopt 40% BVAP caps in many

   districts. Szetela.Dissenting.Report.5, J.A.608.

         The Commission nevertheless argues that Plaintiffs cannot establish the first

   Gingles precondition of numerosity          and compactness. Comm’n.Resp.Br.4-9,

   PageID.1642-47. But the Commission’s arguments are contrary to precedent,

   irrelevant to the liability phase of this proceeding, and seek to graft hyper-technical

   remedial considerations into the Gingles landscape. Plaintiffs have shown that the

   Detroit area’s Black population is sufficiently large and geographically compact to

   draw more majority-minority districts than the Linden (0) and Hickory (6) plans.


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   Pls’.SJ.Br.10-13, PageID.591-94. The Commission cannot dispute this, so, Plaintiffs

   are entitled to summary judgment on the first Gingles precondition.

         That’s the forest. Now the trees. The Commission’s primary argument is that

   Plaintiffs’ demonstration maps—which leave predominately Black communities

   intact and contain higher BVAPs—will not lead to more Black electoral opportunity.

   Comm’n.Resp.Br.4-5, PageID.1642-43. If that argument sounds counter-intuitive,

   that’s because it is. It is also contradicted by the Commission’s VRA legal counsel,

   Bruce Adelson, who advised that the higher the BVAP, “the greater the opportunity

   for minority voters to be able to elect candidates of choice.” MICRC_4871-72, Ex.B.

         Moreover, the Court need not address performance questions at this stage

   because Plaintiffs’ demonstration maps were proffered to illustrate liability, not a

   remedy. As explained in Plaintiffs’ second Brief, neither Abbott v. Perez, 138 S. Ct.

   2305 (2018), nor Harding v. County of Dallas, Texas, 948 F.3d 302 (5th Cir. 2020),

   support the Commission’s requested expansion of Gingles precondition one, and other

   courts have rejected this argument outright. Pls’.Resp.Br.8-14, PageID.1582-88

   (citations omitted). “[T]he Gingles preconditions are designed to establish liability,

   and not a remedy[,]” the “court may consider, at the remedial stage, what type of

   remedy is possible ....” Bone Shirt v. Hazeltine, 461 F.3d 1011, 1019 (8th Cir. 2006)

   (cleaned up); accord Missouri State Conf. of the NAACP v. Ferguson-Florissant Sch.

   Dist., 894 F.3d 924, 934 (8th Cir. 2018) (same).

         The Commission’s remaining arguments posit that there exist fact questions

   over whether Plaintiffs’ demonstration maps are “reasonably              configured.”



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   Comm’n.Resp.Br.4-9, PageID.1642-47. But as Justice Kavanaugh’s Allen v. Milligan

   concurrence explains, “a plaintiff ’s proposed alternative map and proposed majority-

   minority district are ‘reasonably configured’—namely, by respecting compactness

   principles and other traditional districting criteria such as county, city, and town

   lines.” 2023 WL 3872517, at *22 (U.S. June 8, 2023) (citations omitted). The Majority,

   too, discussed how egregious a map must look to be unreasonably configured and

   found that the alternative maps there were reasonable because they lacked

   “tentacles, appendages, bizarre shapes, or any other obvious irregularities that would

   make it difficult to find them sufficiently compact,” and they “contained equal

   populations, were contiguous, and respected existing political subdivisions, such as

   counties, cities, and towns.” Id. at *9-10, 13-14.

         Mr. Trende’s demonstration maps satisfy that standard. They are contiguous,

   compact, and honor county, city, and town lines—perhaps even more so than the

   Linden and Hickory plans. Pls’.SJ.Br.11-13, PageID.592-94. And since the Detroit

   area is home to one of the largest Black populations in the Country, drawing more

   reasonably configured majority-minority districts than the Commission—i.e., zero

   and six—is not arduous. The Commission does not really contend otherwise.

         The Commission instead faults Mr. Trende’s demonstration plans for not

   adhering to Commissioner Anthony Eid’s post-hoc and subjective organization of

   200+ Detroit “neighborhoods” he considers to be “communities of interest.”

   Comm’n.Resp.Br.5-7, PageID.1643-45. Mr. Eid claims the Commission’s maps—

   which fracture Black majorities—keep certain Detroit neighborhoods intact while



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   Mr. Trende’s demonstration maps, which re-form Black majorities, split Detroit

   neighborhoods. Id. at Ex. 1. He also says Mr. Trende’s maps wrongly combine Detroit

   neighborhoods that don’t have “much in common” or “share similar characteristics”

   with each other. Id. This is not a serious argument.

         Mr. Trende’s maps do not need to win a community-of-interest “beauty

   contest”—though they certainly could here, where the Commission’s maps gut

   traditional communities of interest with their long, baconmandered districts that

   blow through numerous municipal boundaries to combine poor, predominantly Black

   urban municipalities with wealthy, predominately white suburban municipalities.

   Lemmons.Aff.¶¶26-28,     31,   33,   34,   37-38,      43-45,   J.A.527,   529-531-533;

   Smith.Aff.¶¶18-19, 27-28, 40-47, J.A.512, 514, 516-17; Lockerbie.Report.¶¶19-45,

   J.A.285-89 (collecting public comments).1 The Milligan Court held that an alternative

   map which reasonably addresses communities of interest need not be drawn in accord

   with the redistricting body’s community-of-interest priorities. 2023 WL 3872517, at

   *10-11.

         Here, Mr. Trende’s focus on traditional communities of interest as reflected by

   municipal boundaries presents a more reasonable approach than Mr. Eid’s. The

   Commission had difficulty defining “community of interest,” describing the term as

   “vague,” “elastic,” “nebulous,” and so on. Comm’n.Report.35-39, Ex.E. Former




   1 Two of Mr. Eid’s fellow Commissioners filed dissenting reports separate from this

   litigation criticizing the Commission’s failure to properly honor communities of
   interest         near        Detroit.      Wagner.Dissenting.Report.81-84, Ex.C;
   Lange.Dissenting.Report.71-81, Ex.D.

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   Michigan Supreme Court Justice, Stephen Markman, cautioned against such a

   interminable definition because it creates a “standardless” process; he further

   explained why the “most obvious and genuine” communities of interest are “counties,

   cities, and townships.” Markman.Memorandum.1-25, Ex.F. Accordingly, Mr.

   Trende’s demonstration maps reasonably account for communities of interest, and

   Mr. Eid’s more fluid approach does not change that result.

         The Commission also faults Mr. Trende for not providing a detailed evaluation

   regarding whether his demonstration plans adversely impact the Commission’s

   partisan-fairness goals. Comm’n.Resp.Br.7, PageID1645. This a curious argument

   where Democratic candidates in 2022 won all 27 general elections Dr. Handley

   analyzed in the Detroit area, 2023.Handley.Report.App.B, J.A. 101-07, and Mr.

   Trende’s demonstration maps only entailed boundary shifts in Southeast Michigan,

   Trende.Report.22-23, 81-82, J.A.329-30, 388-89.

         But again, the Court need not dive into the partisan-fairness weeds. Achieving

   a partisan outcome is not a “traditional redistricting principle” for purposes of

   determining whether a demonstration map is reasonably configured under Gingles

   precondition one. If it were, VRA § 2 would be subverted, and redistricting bodies

   could sacrifice VRA compliance in the name of partisan fairness. State election laws

   yield to the VRA by operation of the Supremacy Clause, and Michigan requires that

   same restraint. Mich. Const. art. IV, § 6(13)(a) (setting VRA compliance as the

   Commission’s top priority). Thus, it is immaterial whether drawing more majority-




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   minority districts than the Commission would impact the Commission’s partisan

   fairness goals.

         Lastly, the Commission argues that Mr. Trende’s demonstration maps are not

   “reasonably configured” because they may be a product of a predominantly racial

   intent, namely compliance with the VRA. Comm’n.Resp.Br.7-9, PageID.1645-47. The

   Milligan Court just rejected this same argument. 2023 WL 3872517, at *12, 15-16

   (reaffirming that an illustrative map submitted under Gingles 1 need not be race

   neutral).

         Accordingly, there is no threshold flaw in Mr. Trende’s demonstration maps,

   which satisfy traditional redistricting principles and show that it is possible to draw

   more majority-minority districts than the Commission. Any nuance regarding the

   configurations of the replacement maps is properly left to the remedial stage. Montes

   v. City of Yakima, 40 F. Supp. 3d 1377, 1398–99 (E.D. Wash. 2014) (granting

   summary judgment in recognition that the law does not require a demonstration map

   to perfectly harmonize every traditional redistricting criteria) (cleaned up).

                2.     Plaintiffs are entitled to summary judgment on the
                       second and third Gingles preconditions.

         The Commission purports to offer both a “district-by-district” and “aggregate”

   approach to showing why it prevails on the second and third Gingles preconditions.

   Neither works.

         1.     District-by-district

         The 2022 primary elections were devastating for Black candidates of choice,

   particularly in the most probative districts: those pitting Black candidates against


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   white candidates. Pls’.SJ.Resp.Br.16-27, PageID.1590-1601. Indeed, in the seven

   most racially polarized elections—HD5, HD6, HD8, HD11, HD12, HD14 and HD26,

   Black candidates of choice lost five. Id. at 27, PageID.1601. And in 8 of the 10 districts

   with a bi-racial election involving a non-incumbent Black candidate—HD5, HD6,

   HD8, HD9, HD11, HD12, HD26, and HD31—the non-incumbent Black candidates

   received no material white-crossover support, contrary to the Commission’s hopes.

   Id. Even Black incumbents received minimal white-crossover support. E.g., id.

         The Commission’s response is to say that the 2022 election results are not

   enough; there must be a “pattern” of racially polarized voting. Comm’n.Resp.Br.10,

   PageID.1648. That’s ironic since the Commission relied exclusively on 2022 election

   results in its opening summary judgment brief. Comm’n.Br.22-24, PageID.659-661.

   But no matter, here is the historical pattern:

         •      White voters rejected the preferred Black candidate in the 2018
                gubernatorial race, Trende.Report.28-35, J.A.335-342;

         •      In 2014 House primaries, Black candidates of choice had “close calls,”
                even in “overwhelmingly Black districts, id. at 40-41, J.A. 347-48;

         •      In 2016 open House primaries, Black candidates of choice lost four of six
                races, including a race in a Black-majority district, id. at 41, J.A.348;

         •      In the 2014 Senate primary, “the white candidate of choice (who earned
                just 7% of the vote from Black voters) won in a 52.5% BVAP district by
                just over eight points” due to a fractured Black field, id. at 84, J.A.391;

         •      In that same primary, “the Black candidates’ vote shares tend[ed] to
                mirror the BVAP of the district, running within a few points of each
                other,” id. at 86, J.A.393; and

         •      The 2018 Senate primaries showed racial polarization along the same
                order of magnitude as the disastrous 2022 primary elections, id. at 86-
                89, J.A.393-96.



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         Commission experts do not really disagree; that’s why the Commission

   concedes that it “had good reasons to believe the second and third Gingles

   preconditions could be met from the expert report of Dr. Handley, who concluded that

   Detroit-area voting exhibits sufficient racial polarization that white-bloc voting

   would usually defeat Black-preferred candidates in the absence of districts drawn to

   ensure equal Black opportunity.” Comm’n.Br.28, PageID.666. The problem is that the

   Commission failed to draw such districts.

         2.     Aggregate

         The Commission fares no better in the aggregate. The following facts are

   undisputed. The 2022 primary resulted in a 20% decline in Michigan’s Black

   Legislative Caucus.2 Pls’.SJBr.32-33, PageID.613-14. There is a 30% proportionality

   deficit in Black-legislative representation. Id. at 34, PageID.614. There is a 65%

   proportionality deficit in majority-Black legislative districts. Id. at 35, PageID.615.

   And there is a 17% proportionality surplus in white-majority legislative districts. Id.

         The Commission touts that of the 11 most probative 2022 election results,

   “Black-preferred candidates have a win percentage of 54.5%.” Comm’n.Resp.Br.12,



   2 The Commission says this 20% number is “unsupported.” Comm’n.Resp.Br.25,
   PageID.1663. But as the media reported after the 2022 election cycle, “the Capitol
   will lose two of five Black senators and two of 15 Black representatives.” Ben Orner,
   Black Michiganders voted heavily for Dems but were ‘sacrificed’ in representation,
   Mlive (Nov. 28, 2022), https://www.mlive.com/politics/2022/11/black-michiganders-
   voted-heavily-for-dems-but-were-sacrificed-in-representation.html.     That’s 20%.
   Accord Malachi Barrett, What a Democratic majority in Lansing could mean for
   Detroit,    Bridge      (Dec.    20,   2022)     https://www.bridgemi.com/michigan-
   government/what-democratic-majority-lansing-could-mean-detroit. The Caucus’
   website (https://michiganlbc.org/about/, visited June 19, 2023) lists 30 members,
   contra Comm’n.Resp.Br.26 n.10, PageID.1664, but not all members are Black.

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   PageID.1650. Think about that. In the “influence” districts with high BVAPs, where

   Black-preferred candidates are supposed to win nearly all the time with white

   crossover, those candidates win only half the races. That’s a reason to grant summary

   judgment to Plaintiffs on Gingles preconditions two and three, not a reason against.

         So the Commission shifts gears and attacks which elections are most probative

   of racial polarization. Comm’n.Resp.Br.13-16, PageID.1651-54. To be clear, Plaintiffs

   are not arguing the Court should “ignore” all elections involving an incumbent, or a

   Black-preferred candidate who is not Black, or general elections, etc. Contra id. But

   in determining whether there is racially polarized voting in the Detroit area, such

   elections are far less probative than non-incumbent elections between Black and

   white primary contestants. In the most probative elections—HD5, HD6, HD13, and

   SD8—white voters picked the white candidates over the Black candidates by an

   average of 93.35% to 6.63%. Pls’.SJResp.Br.36, PageID.1610. There is no need for a

   trial on “white-crossover voting” given these undisputed and one-sided percentages,

   even if the Commission pans them as “idiosyncratic.”3 Comm’n.Resp.Br.17,

   PageID.1655.



   3
     The Commission disregards the incredibly polarized election in SD8 (BVAP 40.25%)
   where Incumbent Senator Marshall Bullock, a Black man from Wayne County, was
   defeated by Incumbent Senator Mallory McMorrow, a white woman from Oakland
   County, with McMorrow receiving 95.9% of the white vote. Comm’n.RespBr.16-17,
   PageID.1654-55; 2023.Handley.Report.App.C2, J.A.111. The Commission says this
   loss of Black opportunity is better attributed to the attention McMorrow received
   from a speech on transgender rights than on the low BVAP of this white-dominated
   district stretching from Detroit into the Oakland County suburbs of Ferndale,
   Berkley, Birmingham, Royal Oak, and Clawson. Id. McMorrow, who hails from the
   center of what Rep. Lemmons refers to as the “Oakland County Money Machine” no
   doubt raised more funds going into the democratic primary (i.e., $662,689.21) than

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         3.     Admissibility and credibility

         The Commission, through its expert, Dr. Palmer, suggests that Mr. Trende

   cherrypicked his data. Comm’n.Resp.Br.19, PageID.1657. His claims mostly involve

   Mr. Trende’s purported failure to report results from the 2018 and 2020 Democratic

   primaries. Palmer.Report.11-19, J.A.128-135. But Mr. Trende’s express goal was not

   to report on every primary election in 2018 and 2020, because the Commission’s own

   expert had already done so, in a report cited by Mr. Trende and submitted into

   evidence. 2021.Handley.Report.9-12, J.A.33-36; Trende.Report.27-28, 40, J.A.334-35,

   347. Mr. Trende’s report uses these detailed results. Id. at 40-42, J.A.347-49. Mr.

   Trende testified about this at his deposition. Comm’n.Resp.Br.Ex.3; Trende

   Dep.150:6-10, PageID.1735.

         Dr. Palmer also criticizes Mr. Trende for not producing results for the HD4

   2018 Democratic primary. Palmer.Report.15, J.A.131. But as Mr. Trende explained,

   “[m]ost of the races here are difficult to interpret, because they often feature multiple

   candidates running.” Trende.Report.36, J.A. 343. This is consistent with Dr.

   Handley’s      conclusion—which        Mr.        Trende   already      indicated     he



   Senator Bullock, but she retained almost half of those funds (i.e., $311,369.23) for the
   general election. Ex.G. More telling is that McMorrow’s 2021 Annual campaign
   finance statement shows that before the contest even began—long before her
   speech—she had significantly more cash on hand ($185,937.40) than Bullock raised
   the entire cycle. Ex.H. What’s more, McMorrow’s speech appears not to have garnered
   her much support from the Black community in the southern portion of SD8 where,
   of the 9,747 itemized direct contributions McMorrow received between January 1,
   2022, and August 22, 2022, only 17 (0.174%) were from Detroit residents. Ex.I;
   https://cfrsearchnictusa.com/documents/527336/details/filing/contributions?schedule
   =1A&changes=0&page=1


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   accepts. 2021.Handley.Report.12, J.A.36. And Mr. Trende did report the 2018 HD2

   Democratic primary as an instance where the differences between the white-

   preferred and Black-preferred candidates were so stark that he disagreed with Dr.

   Handley’s analysis, Trende.Report.36, J.A. 343; and that it was too difficult to

   determine if the 2018 HD5 Democratic primary was polarized. Trende.Report.38, J.A.

   345. Dr. Palmer’s criticism has no merit based on the experts’ similar findings.

         The Commission further claims that the results of the 2018 HD4 Democratic

   primary contradict Mr. Trende’s claim that there is no evidence under the previous

   House District maps suggesting that the Black-preferred candidate can prevail with

   less than 47% BVAP. Comm’n.Resp.Br.19-20, PageID.1657-58. But Mr. Trende did

   not point to the results of the 2018 HD4 primary as an example of racially polarized

   voting. The context of this portion of Mr. Trende’s report discusses Dr. Handley’s

   finding that the BVAP in HD4 was 47.27%, consistent with his own. Id. at 34-35, J.A.

   341-42. As Mr. Trende explained at deposition, there are different methods of

   measuring BVAPs (e.g., Black alone, ‘any part’ Black). Due to this, he and Dr.

   Handley likely generated different BVAP figures. Comm’n.Resp.Br.Ex.3; Trende

   Dep.156:19-24, PageID.1740.

         The Commission also criticizes Mr. Trende for not reporting the results of the

   2018 HD11 Democratic primary. Curiously, they then concede that Mr. Trende did,

   in fact, discuss this election, where Jewell Jones won a racially polarized primary.

   Comm’n.Resp.Br.20, PageID.1658. Mr. Trende explained that the 2018 HD11

   Democratic primary was unique, as it featured a Black incumbent who had been



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   appointed by the party committee and won his seat in a special election.

   Trende.Report.36, J.A. 3430.

           The Commission’s next attack on Mr. Trende is that he failed to report the

   results of the 2022 SD11 primary, which was not polarized. But SD11 is a

   supermajority-white district with a BVAP of just 20% and thus obviously not a Black-

   opportunity district. Comm’n.Resp.Br.Ex.3; Trende Dep.159:21-25, PageID.1741.

           Defendants separately attack Rep. Lemmons as an inadmissible “expert”

   witness whose opinions lack “any foundation or credibility.” Comm’n.Resp.Br.21-22,

   PageID.1659-60. But Rep. Lemmons does not purport to give opinions, only facts. See

   generally Lemmons.Aff., J.A.521. And it is facially absurd to say that a former Black

   legislator with 50 years of experience campaigning in Detroit and its suburbs has no

   foundation or credibility to say what happened on the ground in recent elections in

   which he directly participated. Id. at ¶¶1-9, J.A.521-23; Lemmons.Affidavit.6.16.23.,

   Ex.J.

           4.    The validity of “influence”/ “crossover” districts

           The Commission criticizes Plaintiffs for insisting that “influence” districts (or

   “crossover” districts, to use the Commission’s preferred term) have no basis in VRA

   jurisprudence. Comm’n.Resp.Br.24-25, PageID1662-63. But as the Commission’s

   counsel, Baker Hostetler, conceded in recent North Carolina redistricting litigation,

   when the data “justifie[s] the use of race to draw districts to protect the state from

   Section 2 liability”—which is the Commission’s contention here—“then the remedy is

   to require the state to adopt the majority-Black districts, and not crossover districts



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   that encompass only parts of the demonstrative districts. Shaw [v. Hunt], 517 U.S.

   [899,] 916 [(1996)]. States have the discretion to draw majority-Black districts when

   there is evidence of the three Gingles threshold conditions, but this does not give

   states the authority to replace majority-Black districts with crossover or influence

   districts. Bartlett v. Strickland, 556 U.S. 1, 23-24 (2009).” Legislative Defs.-

   Appellants’Br.60-61, North Carolina League of Conservation Voters, Inc. v. Hall,

   No.413PA21 (Sup Ct. of N. Carolina) (cleaned up). Per the Commission’s counsel,

   “[t]here is simply no basis in law to argue that [a state] has an obligation to draw

   districts that Black-preferred candidates can win at levels of BVAP of less than 50%.”

   Id. at 63.

                3.     Plaintiffs are entitled to summary judgment under the
                       totality of the circumstances.

          The Commission also concedes that it had “good reasons to believe a Section 2

   claim could be made out under the totality of the circumstances” based on the report

   of their expert, Bruce Adelson. Comm’n.Br.29-30, PageID667-68. Their new

   arguments in opposition to summary judgment fail.

          First, this Court does not yet need to determine the “performance” of

   “alternative” districts. Contra Comm’n.Resp.Br.26, PageID.1664. That’s a question of

   remedy. Second, it is irrelevant whether “members of the minority group have been

   elected to public office;” the question is whether Black voters’ ability to elect

   candidates of their choice have been diluted. Contra id. Third, as shown above and in

   Plaintiffs’ previous briefs, it is not reasonable to say there is “strong white crossover

   voting” in Detroit and its suburbs in racially polarized elections, unless by “strong”


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   the Commission means single-digit percentages. Contra id. Finally, the only evidence

   of whether Black voters are being adequately represented in the Michigan

   Legislature is that they are not. Smith.Aff.¶¶42-51, J.A.517-19; Lemmons.Aff.¶¶17-

   20,   25-27-39-40,   42-48,   J.A.525-27,    532-34;   contra   Comm’n.Resp.Br.26-27,

   PageID.1664-65. Plaintiffs are entitled to summary judgment on the totality of the

   circumstances.

          C.    Summary judgment is proper as to Counts III and IV because
                the Commission created the Districts with race as the predomi-
                nant consideration in violation of the Equal Protection Clause.

          It is unrebutted that the Commission used racial quotas—a cap of 40% BVAP—

   to draw the so-called crossover districts in the Detroit area. Pls’.SJ.Resp.Br.33-34.

   “Under the Equal Protection Clause, districting maps that sort voters on the basis of

   race ‘are by their very nature odious.’” Wis. Legislature v. Wis. Elections Comm’n.,

   142 S. Ct. 1245, 1248 (2022) (quoting Shaw v. Reno, 509 U.S. 630, 643 (1993)). Contra

   Comm’n.Resp.Br.28-31, PageID.1666-69 (arguing that racial quotas are o.k. in some

   circumstances). The Commission claims this is a post-trial, district-by-district

   determination. See id. But when the entire redistricting process—and every district

   line—was driven by racial quotas, then a trial is unnecessary.

          The Commission claims that its racially gerrymandered maps are the product

   of considering communities of interest and politics. As to communities of interest,

   Plaintiffs explained above in Section I.B.1 that the Commission could not even define

   communities of interest, and it persistently paired some of the poorest, predominantly

   Black urban municipalities in the State with some of the wealthiest, white-dominated

   suburban municipalities. Again, this is not a serious argument.

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         As for politics, it is impermissible for map drawers to single out Black

   communities as Black communities to achieve any political goal. Contra

   Comm’n.Resp.Br.32-33, PageID.1670-71. Yet that is exactly what the Commission’s

   own reports show. That testimony is “direct evidence” of improper racial intent,

   Cooper v. Harris, 581 U.S. 285, 291 (2017), and Mr. Trende’s Sequential Monte Carlo

   analysis confirms it, Pls’.SJ.Br.39-43, PageID.620-43. The fact that the Commission

   may   have    used   partisan-fairness   goals   that   Mr.   Trende   did   not,   see

   Comm’n.Resp.Br.31, PageID.1669, hardly justifies the odious practice of race-based

   map drawing.

         The Commission’s narrow-tailoring argument is difficult to comprehend. In

   essence, the Commission is saying that because the Gingles preconditions are

   satisfied and VRA compliance is a compelling interest, the most narrow way to satisfy

   the VRA is to provide fewer majority-minority districts where Black candidates of

   choice will be elected in racially-polarized elections. That can’t be right. Again, the

   crutch of the argument is a purportedly “sufficient patterns of white crossover voting

   to ensure equal Black electoral opportunity.” Comm’n.Resp.Br.34, PageID.1672. But

   when 9 out of 10 white voters reject the Black candidate of choice in the most

   probative elections, Pls’.SJ.Resp.Br.36, PageID.1610, there is no such opportunity.

         The argument is also legally faulty. In League of United Latin American

   Citizens (LULAC) v. Perry, 548 U.S. 399 (2006), the Supreme Court held that VRA

   § 2 does not justify a state’s use of race to create crossover districts. Id. at 445.

   Assuming the opposite, as does the Commission, “would unnecessarily infuse race



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   into virtually every redistricting, raising serious constitutional questions.” Id. at 445-

   46. Likewise, in Bartlett v. Strickland, 556 U.S. 1 (2009), the Court rejected the notion

   that an influence district is an “effective minority district.” Id. at 14. Rather VRA § 2

   only allows states to use race in redistricting if a geographically compact group of

   minority votes constitutes a majority of a district’s voters. Id. at 14-18. That is

   because “claims in which success for a minority depends upon crossover majority

   voters would create serious tension with the third Gingles requirement that the

   majority votes as a bloc to defeat minority-preferred candidates.” Id. at 16. Having

   conceded that it used race to draw redistricting maps because of the likelihood that

   Plaintiffs satisfy the three Gingles preconditions and the totality of the

   circumstances, the Commission is barred from arguing that influence or crossover

   districts are the appropriate (indeed, most narrowly tailored) way to solve the VRA

   problem.

 III.   CONCLUSION

         The Commission implicitly concedes that (valid) concerns over potential VRA

   liability forced it to use race when drawing the Linden and Hickory plans. But rather

   than maintain the many majority-minority districts that historically existed in Metro

   Detroit, the Commission used racial quotas—40% BVAP caps—to draw bacon-

   mandered districts that diluted Black voting power due to a lack of white crossover

   voting that surprised only the Commission and its experts. A trial is not necessary to

   conclude that poorly funded Black candidates from Detroit have little chance of

   competing with cash-rich, white candidates from Macomb and Oakland Counties. The



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   result is liability as a matter of law under both the VRA and the Equal Protection

   Clause.

         Accordingly, Plaintiffs request summary judgment on all four Counts and

   expedited briefing on the appropriate remedy.

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                          CERTIFICATE OF COMPLIANCE

         This brief complies with the word limit of W.D. Mich. LCivR 7.2(c) because,

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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2023, I electronically filed the above

   document(s) with the Clerk of the Court using the ECF System, which will provide

   electronic copies to counsel of record.

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